Case 3:16-cv-01345-AWT Document 164-2 Filed 03/11/19 Page 1 of 6
                            Exhibit 1
Case 3:16-cv-01345-AWT Document 164-2 Filed 03/11/19 Page 2 of 6
                            Exhibit 1
Case 3:16-cv-01345-AWT Document 164-2 Filed 03/11/19 Page 3 of 6
                            Exhibit 1
Case 3:16-cv-01345-AWT Document 164-2 Filed 03/11/19 Page 4 of 6
                            Exhibit 1
Case 3:16-cv-01345-AWT Document 164-2 Filed 03/11/19 Page 5 of 6
                            Exhibit 1
Case 3:16-cv-01345-AWT Document 164-2 Filed 03/11/19 Page 6 of 6
                            Exhibit 1
